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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      CRIMINAL NO. 98-cr-329 (TFH)
                                             :
               v.                            :
                                             :
JEROME MARTIN                                :
                      Defendant.             :

     RESPONSE TO DEFENDANT’S MOTION TO STAY 28 U.S.C. § 2255 MOTION

       The United States of America by and through its attorney, the United States Attorney for the

District of Columbia, informs the Court that the government does not oppose defendant’s motion

to stay his 28 U.S.C. § 2255 motion.

                                             Respectfully submitted,

                                             JEFFREY A. TAYLOR
                                             United States Attorney

                                             /s/ John P. Mannarino
                                             John P. Mannarino
                                             Chief, Special Proceedings Division
                                             Bar No. 444-384

                                              /s/ Carolyn K. Kolben
                                             Carolyn K. Kolben
                                             ASSISTANT UNITED STATES ATTORNEY
                                             Bar No. 391-156
                                             555 4th Street, N.W., Room 10-441
                                             Washington, DC 20530
                                             (202) 616-0852

                                 CERTIFICATE OF SERVICE

  I hereby certify that a copy of the forgoing Response to Petitioner’s Motion to Stay 28 U.S.C. §
2255 Motion was mailed this 12th day of Novermber, 2008, to Jerome Martin, Fed. Reg. No.
18894-083, USP Hazelton, P.O.Box 2000, Bruceton Mills, West Virginia 26525.

                                             /s/ Carolyn K. Kolben
                                             Carolyn K. Kolben
                                             ASSISTANT UNITED STATES ATTORNEY
